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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                     August 27, 2018
                            UNITED STATES DISTRICT COURT
                                                                                    David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JULIUS LUCKETT AND BRENDA LUCKETT,    §
                                      §
      Plaintiffs,                     §
                                      §
v.                                    §                    CIVIL ACTION H-17-2522
                                      §
STARSTONE NATIONAL INSURANCE COMPANY, §
                                      §
      Defendant.                      §


                                            ORDER

         The joint stipulation of dismissal with prejudice (Dkt. 12) is GRANTED. It is therefore

ORDERED that plaintiffs’ claims are DISMISSED with prejudice. Each party shall bear its own

costs.



         Signed at Houston, Texas on August 27, 2018.




                                             ___________________________________
                                                         Gray H. Miller
                                                   United States District Judge
